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 4
     Attorney for Defendant
 5   RICARDO MANZO-RANGEL
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 8                                 UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                       SAN FRANCISCO DIVISION
11                                                  --o0o--
12   UNITED STATES OF AMERICA,
                                                              NO. CR-05-00555-CRB
13                          Plaintiff,
                                                              STIPULATION AND
14                                                            [PROPOSED]ORDER CONTINUING
                                                              MOTION HEARING
15
                    vs.
16
     RICARDO MANZO-RANGEL, et al.,
17
                            Defendants.
18                                            /
19          MICHAEL STEPANIAN, attorney for defendant, RICARDO MANZO-RANGEL and
20   SUSAN JERICH, Assistant United States Attorney, hereby stipulate that Defendant’s Motion to
21   Compel Disclosure of Confidential Informant, which is currently scheduled to be heard before
22   the Hon. Charles R. Breyer on January 25, 2006 at 2:15 P.M., be continued until February 1,
23   2006 at 2:15 P.M.
24          The Court hereby finds, as follows:
25          1. Taking into account the defendant’s and the public interest in the prompt disposition
26   of criminal cases, the parties in this matter have stipulated to a continuance.
27   ///
28   ///

     STIPULATION AND [PROPOSED] ORDER
     CONTINUING MOTION HEARING                                                                         1
     Case 3:05-cr-00555-CRB             Document 33       Filed 01/12/06           Page 2 of 2



 1          2. The ends of justice served by excluding the period of time from January 25, 2006 to
 2   February 1, 2006 outweigh the best interest of the public and the defendant, Mr. Manzo-Rangel,
 3   in a speedy trial. 18 U.S.C. § 3161(h)(8)(A).
 4          Accordingly, and with the consent of the defendant, the Court hereby: (1) vacates the
 5   hearing date of January 25, 2006 at 2:15 P.M. for Defendant’s Motion to Compel Disclosure of
 6   Confidential Informant and sets it for February 1, 2006 at 2:15 P.M.; and, (2) orders that the
 7   period of time from January 25, 2006 to February 1, 2006 be excluded from the Speedy Trial Act
 8   calculations under 18 U.S.C. § 3161(h)(8)(A) and (B)(ii) and (iv).
 9

10          IT IS SO STIPULATED.
11          DATED: January 6, 2006                   /s/ Michael Stepanian
                                                     MICHAEL STEPANIAN
12                                                   Attorney for Defendant
                                                     RICARDO MANZO-RANGEL
13

14          DATED: January 6, 2006                   /s/ Susan Jerich
                                                     SUSAN JERICH
15                                                   Assistant United States Attorney
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17          IT IS SO ORDERED.
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                            12 2006
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18          DATED: January ___,                      _______________________________

                                                                                             RT
                                                     Hon. CHARLES R. BREYER
                                                                              DER   ED
                                                       UNIT




19                                                   United States S S O  O
                                                                   District R
                                                                            Court Judge
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     STIPULATION AND [PROPOSED] ORDER
     CONTINUING MOTION HEARING                                                                             2
